                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION

                                       CIVIL NO. 1:04CV52
                                          (1:02CR19-3)


HAROLD DEAN GARRETSON, JR.                     )
                                               )
                       Petitioner,             )
                                               )
               Vs.                             )               ORDER
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                       Respondent.             )
                                               )


       THIS MATTER is before the Court on the Petitioner’s motion pursuant to Federal Rule

of Civil Procedure 59(e) to alter or amend judgment.



                                     STANDARD OF REVIEW

       “There are three circumstances in which the district court can grant a Rule 59(e) motion:

‘(1) to accommodate an intervening change in controlling law; (2) to account for new evidence

not available at trial; or (3) to correct a clear error of law or prevent manifest injustice.’” United

States ex rel. Becker v. Westinghouse Savannah River Co., 305 F.3d 284, 290 (4th Cir. 2002),

cert. denied, 538 U.S. 1012 (2003) (quoting Pac. Ins. Co. v. Am. Nat’l Fire Ins. Co., 148 F.3d

396, 403 (4th Cir. 1998)).

       Thus, the rule permits a district court to correct its own errors, “sparing the parties
       and the appellate courts the burden of unnecessary appellate proceedings.” Rule
       59(e) motions may not be used, however, to raise arguments which could have
       been raised prior to the issuance of the judgment, nor may they be used to argue a
       case under a novel legal theory that the party had the ability to address in the first



        Case 1:02-cr-00019-MR           Document 142         Filed 08/23/05       Page 1 of 3
                                                  2

       instance. . . . In general reconsideration of a judgment after its entry is an
       extraordinary remedy which should be used sparingly.

Id. (quoting Russell v. Delco Remy Div. of Gen. Motors Corp., 51 F.3d 746, 749 (7th Cir. 1995)

(other quotations omitted). And, “mere disagreement [with the Court’s ruling] does not

support a Rule 59(e) motion.” Hutchinson v. Staton, 994 F.2d 1076, 1082 (4th Cir. 1993).

       Petitioner claims that issues raised in a supplemental pleading filed after the Court

dismissed his motion pursuant to 28 U.S.C. § 2255 warrants relief pursuant to Rule 59(e).

However, that pleading provides no information which would change the result of the previous

decision; indeed, it is merely a restatement of issues raised in the § 2255 motion. No other

grounds raised in the pending motion warrant relief.

       IT IS, THEREFORE, ORDERED that the Petitioner’s motion to alter or amend

judgment is hereby DENIED.




       Case 1:02-cr-00019-MR           Document 142         Filed 08/23/05      Page 2 of 3
                                  3



                        Signed: August 23, 2005




Case 1:02-cr-00019-MR    Document 142      Filed 08/23/05   Page 3 of 3
